CHICAGO TITLE &amp; TRUST CO. AND BLANCHE G. STUMER, TRUSTEES, ESTATE OF LOUIS M. STUMER, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Chicago Title &amp; Trust Co. v. CommissionerDocket No. 22438.United States Board of Tax Appeals18 B.T.A. 395; 1929 BTA LEXIS 2053; November 30, 1929, Promulgated *2053  Amounts paid by trustees of a trust to attorneys for services in prosecuting a claim for refund of taxes held properly deductible in computing the net income of the trust.  Florence Grandin et al.,16 B.T.A. 515"&gt;16 B.T.A. 515, followed.  John Enrietto, Esq., for the petitioners.  Brice Toole, Esq., for the respondent.  GREEN *395  In this proceeding the petitioners seek a redetermination of the estate's income-tax liability for the calendar year 1923, for which year the respondent has determined a deficiency in the amount of $4,494.50.  The petitioners allege that the respondent erred in computing taxable net income for the year 1923 by failing to allow, as a deduction for ordinary and necessary business expenses, $18,000 paid as attorneys' fees.  FINDINGS OF FACT.  The proceeding was submitted on the following stipulation: The Chicago Title &amp; Trust Co. is an Illinois corporation and the active and managing trustee of the estate of Louis M. Stumer, deceased, with its principal office at 69 West Washington Street, Chicago, Ill.  Blanche G. Stumer is the widow of Louis M. Stumer, deceased, and also a trustee of his estate.  Louis*2054  M. Stumer died testate on July 14, 1919.  In his will, Blanche G. Stumer, his widow, was appointed executrix for the estate.  The executrix was discharged and the estate closed on May 31, 1920.  The entire estate, prior to discharge of said executrix, was transferred to Blanche G. Stumer and the Chicago Title &amp; Trust Co., a corporation, as trustees, to be held in trust in accordance with the provisions of the testator's will creating such trust.  One-half of the income from this trust was to be accumulated and the other half was to be distributed periodically, one-fourth to the widow and one-fourth to the three children of the testator.  The widow is to receive one-fourth of the income of the trust for life and upon termination of the trust, the estate is to be divided equally between the residuary legatees upon the youngest living legatee attaining a certain age.  The Chicago Title &amp; Trust Co., trustee, filed with the collector of internal revenue at Chicago, Ill., a fiduciary return, Form 1041, *396  showing the gross and net income of the estate for the calendar year 1923 and the persons entitled thereto under the will creating the trust.  This trustee kept its books on*2055  the cash receipts and disbursements basis and filed with the collector an income-tax return, Form 1040, on this basis, showing the income retained by and taxable to the estate, for the calendar year 1923.  Subsequent to the discharge of the executrix, the respondent proposed an additional Federal estate tax of $114,610.08 against the estate of Louis M. Stumer, deceased, which additional tax was reduced, after contest by petitioner, to $16,445.89.  This liability was discharged on December 28, 1922, through payment by the said trustees to John C. Cannon, Collector of Internal Revenue, Chicago.  In connection with the contest of the proposed additional Federal estate tax of $114,610.08, it was necessary for petitioners, in connection with the management of the trust estate and the performance of their duties as trustees, to retain the services and to secure the advice of counsel, and the law firms of Urion, Drucker, Reichman &amp; Boutell, Washington, D.C., and D'Ancona &amp; Pflaum, Chicago, were employed by petitioners.  On January 2, 1923, petitioners paid to the firm of Urion, Drucker, Reichman &amp; Boutell $16,000 for legal services rendered by said firm to petitioners in connection*2056  with the contest of this proposed additional Federal estate tax.  On the same date, petitioners paid to the firm of D'Ancona &amp; Pflaum $2,000 for legal services rendered by said firm to petitioners in connection with the same contest.  These payments represented reasonable compensation for the services rendered.  The amounts paid on January 2, 1923, for legal services were not claimed as deductions on the returns filed as aforesaid and were not subsequently allowed as deductions in any part in the determination of the taxable net income of the estate for the calendar year 1923.  OPINION.  GREEN: The sole question before us in this proceeding is whether the amount paid by the trustees to the attorneys for prosecuting a claim for refund of Federal estate taxes is a proper deduction in computing net income of the trust.  We decided this question in , where, at page 517, we said: It may be safely stated that it was the intention and expectation of the testator in creating the trust under consideration, that it would produce income for the use and benefit of each cestui que trust, and it was the duty of the trustees to*2057  manage it, if possible, so that result would be obtained.  To that *397  extent, at least, the trust may be considered as a business.  And it was as much the duty of the trustees to preserve and protect the trust property from losses as it was to produce income, and equally important in its effects upon the beneficiaries.  In this case the estate had been compelled to pay taxes which the trustees believed and which were subsequently proved to be excessive in amount, and the trustees, in the proper exercise of their duties, employed counsel to prosecute a claim for the recovery of the tax that they considered to have been unlawfully exacted.  * * * We have heretofore approved as deductions from the income of an estate, fees paid to an executor for managing the estate when it was kept intact after the usual period of administration.  , and , and there is little, if any, difference in principle between those cases and this.  See, also, *2058 . Judgment will be entered under Rule 50.